The complaint sets forth in part a claim by the plaintiff on a payment bond furnished by the defendants Frouge Construction Company, Inc., as principal, and Hartford Accident and Indemnity Company, as surety, to the state of Connecticut, described in paragraph 2 of the complaint. The bond was given pursuant to the requirements of § 7214 of the General Statutes. The complaint alleges that the plaintiff supplied materials to a sub-contractor. Section 7215 provides that one occupying the position of this plaintiff shall have a right of action on the bond upon giving a written notice to the contractor as prescribed in the statute. Section 42 of the Practice Book requires that the notice be recited in the complaint or a copy annexed thereto. Failure to comply with the rule leaves the complaint deficient in a vital particular. Barteis v.Windsor, 134 Conn. 569, 571.
   The demurrer is sustained for the reason assigned therein.